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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

   Civil Action No. 17-cv-01937-WYD-NYW

   MICHEAL BACA, POLLY BACA, and ROBERT NEMANICH,

         Plaintiffs

   v.

   COLORADO DEPARTMENT OF STATE,

         Defendant.


           PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION TO DISMISS


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                                          INTRODUCTION

          Plaintiffs Micheal Baca, Polly Baca, and Robert Nemanich were appointed as three of

   Colorado’s presidential electors in the most recent presidential election. They were thus required

   to perform the federal function of casting electoral votes for President and Vice-President.

          During the electoral vote, the Colorado Secretary of State unconstitutionally interfered

   with Plaintiffs’ constitutional right to vote for candidates of their choice. Plaintiff Micheal Baca

   voted for John Kasich, but his vote was not counted. Instead, he was removed from office, on the

   grounds that he did not vote the way the Secretary contended he was required to under state law.

   See Compl. ¶¶ 54–55. The two other plaintiffs were unconstitutionally intimidated from casting

   votes according to their discretion. The Secretary’s actions violated Plaintiffs’ constitutional

   rights. Plaintiffs have brought this action under 42 U.S.C. § 1983 to address that violation.

                                           BACKGROUND

          A.    The Mechanics Of The Electoral College: The State Appoints, And The
                Electors Perform The “Federal Function” Of Voting For President.

          The Constitution does not provide for direct election of the President and Vice-President.

   Instead, each State “appoint[s]” a number of electors equal to the total number of the State’s

   Members of the House and Senate. See U.S. Const. art. II & amd. XII. The Constitution gives

   states “plenary” power to select electors, McPherson v. Blacker, 146 U.S. 1, 35 (1892), subject to

   the limits of the Constitution, Williams v. Rhodes, 393 US 23, 29 (1968). Colorado appoints a

   slate of electors that are chosen by the political party of the candidates for President and Vice-

   President that receive the most popular votes in the state. See CRS § 1-4-301 et seq.

          Once appointed, electors meet in the respective states “on the first Monday after the

   second Wednesday in December next following their appointment,” which, in the most recent

   election, was December 19, 2016. 3 U.S.C. § 7. Both Congress and Colorado law require electors

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   to “perform the duties required of them by the constitution and laws of the United States.” CRS

   § 1-4-304(1); see also 3 U.S.C. § 8 (electors vote “in the manner directed by the Constitution”).

          B.    Plaintiffs Are Selected As Electors And Consider Their Votes.

          Plaintiffs were nominated in April 2016 as three of nine Democratic electors in the State

   of Colorado. Compl. ¶ 27. Because Hillary Clinton and Tim Kaine received the most popular

   votes in the state of Colorado in the general election on November 8, 2016, Plaintiffs and the

   other Democratic electors were appointed as the State’s electors. Compl. ¶ 32.

          After learning of what many deemed to be credible allegations of foreign interference in

   the popular election, Compl. ¶¶ 37–38, Plaintiff Nemanich asked Colorado Secretary of State

   Wayne Williams “what would happen if” a Colorado elector did not vote for Clinton and Kaine.

   Compl. ¶ 46. The Secretary, through the Colorado Attorney General’s office, responded that

   Colorado law requires electors to vote for the ticket that received the most popular votes in the

   state, see CRS § 1-4-304(5), and an elector who did not comply with this law would be removed

   from office and potentially subjected to criminal perjury charges. Compl. ¶¶ 46–47.

          C.    The Tenth Circuit Maintains The Status Quo Because It Finds It
                “Unlikely” That Any Elector Will Be Removed From Office.

          In light of the Secretary’s response, two of the Plaintiffs brought suit in this Court and

   requested a preliminary injunction to prevent their removal or any interference with their votes.

   This Court denied the request, and the Tenth Circuit affirmed. The Tenth Circuit noted, however,

   that it did not need to answer the question of whether the Secretary could remove electors from

   office after electoral voting had begun because it thought that “such an attempt by the State” was

   “unlikely in light of the text of the Twelfth Amendment,” which grants electors the constitutional

   power to vote by ballot for candidates for President and Vice-President. See Baca v.

   Hickenlooper (“Baca II”), 10th Cir. No. 16-1482, Slip Op. at 12 n.4 (Dec. 16, 2016); see also id.


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   at 10 n.3 (noting that there is “language in the Twelfth Amendment that could arguably support

   the plaintiffs’ position” that they have constitutional discretion in voting).

          D.     The Secretary Removes Baca From Office For Casting A Vote For
                 Kasich, And Refuses To Count The Vote.

          Three days after the Tenth Circuit’s order was released, the electors convened to cast

   their votes. When voting began, Micheal Baca crossed out Hillary Clinton’s name on the pre-

   printed ballot and voted for John Kasich for President. Compl. ¶ 54. The Secretary, after reading

   the non-secret ballot, removed Baca from office, refused to count the vote, referred him for

   criminal investigation, and replaced him with a substitute elector who cast a vote for Clinton. Id.

   at ¶ 55. Two other Plaintiffs, Polly Baca and Robert Nemanich, felt “intimidated and pressured to

   vote against their determined judgment” in light of the Secretary’s actions and prior statements,

   including the Secretary’s efforts to change the text of the Electors’ oath just minutes before they

   took it. Id. at ¶ 56. They thus ultimately cast their electoral votes for Clinton and Kaine.

          Following dismissal of Plaintiffs’ earlier injunctive action, Plaintiffs filed this suit, which

   alleges a deprivation of their constitutional rights under § 1983 and requests damages.

                                              ARGUMENT

     THE MOTION TO DISMISS SHOULD BE DENIED BECAUSE PLAINTIFFS WERE
            DEPRIVED OF THEIR CONSTITUTIONAL RIGHT TO VOTE

          The federal Constitution creates the role of a presidential “Elector,” charged with the duty

   to vote for both President and Vice President. States have “plenary” authority to select those

   electors. McPherson, 146 U.S. at 35. But once chosen, an elector performs a “federal function

   under . . . the Constitution,” Burroughs v. United States, 290 U.S. 534, 545 (1934), and is thus

   free to exercise his or her judgment without state interference. By removing Micheal Baca from

   office and threatening others with removal, the Secretary violated Plaintiffs’ constitutional right

   to cast an electoral vote for president. Thus, the State’s motion to dismiss must be denied.

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          A.     Plaintiffs Have Standing To Vindicate Their Personal Rights To Vote.

          Plaintiffs have standing. Their lone cause of action alleges they were personally injured

   by being either removed from office (Micheal Baca) or threatened with removal (Polly Baca and

   Rob Nemanich) for exercising their constitutional rights. They thus meet the elements for

   standing in federal court. See, e.g., Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1126

   (10th Cir. 2013) (reciting familiar three-part standing test); Faustin v. City & Cty. of Denver, 268

   F.3d 942, 950 (10th Cir. 2001) (nominal damages sufficient to confer standing in § 1983 suit).

          The State claims that the so-called “political subdivision standing” doctrine bars this case

   on the grounds that plaintiffs may not “challenge the constitutionality of state statutes when they

   are not personally affected by those statutes and their interest in the litigation is official rather

   than personal.” State Br. 7. But this Court implicitly, and the Tenth Circuit explicitly, have

   already rejected the same standing argument, and for good reason: as the Court of Appeals

   understood, Plaintiffs here allege that the Secretary’s actions “infringe[d] upon their own

   personal constitutional rights,” and they thus have more than an abstract or official stake in the

   outcome. Baca II, Slip Op. at 7 (emphasis added). Like every person whose “own personal

   constitutional rights” have been infringed, plaintiffs have standing to challenge that infringement

   through a “civil action for deprivation of [constitutional] rights.” 42 U.S.C. § 1983.

          Indeed, the Tenth Circuit recognized that Plaintiffs have standing under Coleman v.

   Miller, 307 U.S. 433 (1939). In Coleman, state legislators had standing to prohibit the state from

   interfering with a legislative vote. The Court held the legislators could proceed because they had

   “a plain, direct and adequate interest in maintaining the effectiveness of their votes.” Id. at 438.

   Plaintiffs’ interest here is similar to that of the state legislators in Coleman: as appointed electors

   for Colorado, they were entitled to have their votes cast and counted once voting began.



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          Moreover, even if the Coleman principle were insufficient to confer standing, Plaintiffs

  have standing under the State’s proposed test. The State acknowledges that Plaintiffs have

  standing if they can show they were “personally affected” by unconstitutional actions. State Br.

  7. But Plaintiffs were removed from office or threatened with removal, and the Supreme Court

  has held the threat of or actual removal from office confers standing. That is because state

  officials’ “refusal to comply with [a] state law [that is] likely to bring their expulsion from

  office” gives them a “personal stake” sufficient to confer standing. Bd. of Education v. Allen, 392

  U.S. 236, 241 n.5 (1968); see also City of Hugo v. Nicholas, 656 F.3d 1251, 1260 (10th Cir.

  2011) (government officials have standing against state government defendants “based on the

  individual [plaintiffs’] personal stake in losing their jobs”).

          This principle applies here with special force because Plaintiffs are not ordinary “state

  officials” subject to state control, which is the fact that triggers the “political subdivision

  doctrine” in the first place. Though appointed by the state, Plaintiffs exercise a “federal function”

  in voting for President. Burroughs, 290 U.S. at 545. Thus, Plaintiffs have standing to challenge

  any action that interferes with the performance of that federal function. 1




  1
    The case law upon which the State relies is inapplicable. See State Br. 6–8. Some of the inapt
  citations involved claims by political subdivisions, which, by definition, cannot have “personal
  stakes” in a case. See City of Hugo, 656 at 1253 (plaintiff was a city in Oklahoma). Other inapt
  cases involved plaintiffs who did not suffer any personal loss but instead wished only to
  vindicate a purely abstract principle. In contrast, here, Plaintiffs here were actually removed from
  office (or threatened with removal) as a result of the Secretary’s unconstitutional actions.
  Compare Columbus & G. R. Co. v. Miller, 283 U.S. 96, 100 (1931) (tax collector would not be
  personally affected by allegedly invalid tax provision); Cooke v. Hickenlooper, No. 13-cv-1300,
  2013 U.S. Dist. LEXIS 168806, at *38 (D. Colo. Nov. 27, 2013) (county sheriffs not personally
  affected by allegedly unconstitutional new gun regulations and did not allege potential job loss).



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         B.     Plaintiffs Have Stated A Claim That The Secretary Unconstitutionally
                Interfered With Plaintiffs’ Right To Vote.

         On the merits, Plaintiffs have stated a claim for damages based on the Secretary’s

  interference with Plaintiffs’ performance of their federal duties. The text, history, and structure

  of the Constitution are clear: presidential electors exercise a “federal function,” and, once

  appointed, may not be controlled in the exercise of their duties by either state or federal officials.

  Because the Secretary unconstitutionally interfered with that protected federal constitutional

  right, this Court must deny the State’s motion to dismiss.

                1.    Colorado May Not Interfere With Electors’ Performance Of
                      Their Federal Function.

         The Secretary’s actions were unconstitutional because they violate the long-established

  prohibition on state interference with the exercise of a “federal function.” The federal nature of

  Plaintiffs’ duty, already clear from the Constitution, has been repeatedly confirmed by the

  Supreme Court. In Burroughs v. United States, 290 U.S. 534 (1934), the Supreme Court held that

  presidential electors “exercise federal functions under, and discharge duties in virtue of authority

  conferred by, the Constitution of the United States,” and thus are not mere creatures of state law.

  Id. The Court later reaffirmed that “presidential electors exercise a federal function in balloting

  for President and Vice-President.” Ray v. Blair, 343 U.S. 214, 224 (1952); see also Bush v. Gore,

  531 U.S. 98, 112 (2000) (Rehnquist, C.J., concurring) (same, quoting Burroughs). 2

         Because casting an electoral vote for president is a federal duty, Colorado may not

  interfere with or impede the performance of that duty. The bedrock principle that states cannot


  2
    As mentioned supra pp. 1–2, state and federal statutes mirror the Supreme Court’s conclusion.
  See 3 U.S.C. § 8 (“[E]lectors shall vote for President and Vice President, respectively, in the
  manner directed by the Constitution.”); CRS § 1-4-304(1) (“[P]residential electors shall proceed
  to perform the duties required of them by the constitution and laws of the United States.”).


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  interfere with federal functions was first described in McCulloch v. Maryland, 17 U.S. 316

  (1819), which rejected a state’s ability to tax the Bank of the United States because the

  “Constitution and the laws made in pursuance thereof shall be the supreme law of the land” and

  cannot be interfered with by a state. Id. at 433. Since then, courts have held that federal postal

  officials may not be required to get a state driver’s license to perform their duties because that

  would “require qualifications in addition to those that the [Federal] Government has pronounced

  sufficient,” Johnson v. Maryland, 254 U.S. 51, 57 (1920); that private federal contractors cannot

  be required to submit to state licensing procedures that would add to a contractor’s qualifications

  to receive the federal contract, Leslie Miller, Inc. v. Arkansas, 352 U.S. 187, 189–90 (1956); and

  that federal employees and contractors cannot be prosecuted for trespass when performing

  “federal duties,” Wyoming v. Livingston, 443 F.3d 1211, 1230 (10th Cir. 2006).

         Here, the State implies presidential electors work for or on behalf of the state, calling

  them “state officers.” State Br. 7. But electors are employees of no one. Unlike state employees,

  electors perform federal functions, are appointed pursuant to the U.S. Constitution, are elected to

  office, and receive only a nominal stipend and travel allowance as compensation. See CRS 1-4-

  304–305. Instead, as Hamilton noted, the Electoral College occupies a “branch” of government

  analogous to the House and Senate. See The Federalist No. 60 (A. Hamilton).

         Even if Plaintiffs were nominally “state officials,” the analysis would not change. Courts

  have granted immunity not just to federal employees but also to private contractors performing

  federal functions, Leslie Miller, 352 U.S. at 189–90; Wyoming, 443 F.3d at 1217; to private

  banks, Nat’l Bank v. Commonwealth, 76 U.S. 353, 362 (1870) (national banks must be free from

  any “State law [that] incapacitates the banks from discharging their duties to the government”);

  and, as particularly relevant here, to state legislative officials, whose votes to ratify a



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  constitutional amendment are not subject to overrule by popular referendum because the “act of

  ratification by the State derives its authority from the Federal Constitution.” Hawke v. Smith, 253

  U.S. 221, 230 (1920). Thus, Plaintiffs’ performance of their federal function renders them

  immune from state control—not their employment status.

                2.    The Power To Appoint Does Not Imply The Power To Control.

         The State also errs when it confuses its power to appoint electors with the power to

  control them. State Br. 9–12. The President “appoints” federal judges; he has no power to control

  federal judges. The same is true here: while the Constitution expressly grants states the power to

  “appoint” electors, the Constitution gives states no power to control how electors perform their

  “federal function.” See Hawke, 253 U.S. at 230 (federal rules govern state ratification of

  constitutional amendments).

         The difference between the power to appoint and the power to control is fundamental in

  our system of separated powers. Before the Senate was popularly elected, for instance, state

  legislatures had plenary power to select U.S. Senators. But, while any instructions on voting

  from a Senator’s state may have had moral and political sway, “attempts by state legislatures to

  instruct senators have never been held to be legally binding.” Saul Levmore, Precommitment

  Politics, 82 Va. L. Rev. 567, 592 (1996). Thus, no Senator was ever punished by a state for

  failing to follow an instruction, despite state legislators believing Senators worked for them.

         The same principle also applies to legislative electors—that is, voters—who are the other

  type of “electors” mentioned by the Constitution. See U.S. Const. art. I, § 2; see also infra at 10.

  Legislative electors cannot be intimidated or coerced into voting in a particular way. See, e.g., 42

  U.S.C. § 1973i. Indeed, the idea of a state law directing individual votes for Governor or Senator

  is so repugnant to the Constitution that it is unclear if it has ever even been attempted. Yet that is



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  exactly what the State did here. The interference would have been unconstitutional if Plaintiffs

  were legislative electors, and it is equally unconstitutional with respect to presidential electors.

         Ray v. Blair, 343 U.S. 214 (1952), upon which the State relies, confirms the distinction

  between the State’s power to appoint (which it has) and its power to control (which it lacks). In

  permitting the state to require electors to pledge to vote for the nominee of their party, Ray

  affirmed the plenary power of states to appoint electors. Id. at 231. But the Court also noted that

  electors’ “promises” may be “legally unenforceable” because they could be “violative of an

  assumed constitutional freedom of the elector under the Constitution to vote as he may choose in

  the electoral college.” Id. at 230 (citation omitted). This passage recognizes the key distinction

  between the state-regulated appointment process and the federal function of casting a vote for

  president that must be free from state interference.

                3.    The Constitution’s Text Gives Electors Discretion To Choose
                      Their Preferred Candidates.

         The Constitution’s text also demonstrates that states may not dictate electors’ votes, as

  the Tenth Circuit seemingly recognized earlier in this dispute. In Baca II, the court stated that

  any attempt “to remove an elector after voting ha[d] begun” would be “unlikely in light of the

  text of the Twelfth Amendment,” which gives “Electors” freedom to cast a “vote by ballot”

  without restriction. Slip Op. at 12 n.4, U.S. Const. amd. XII. The court’s reliance on

  Constitutional text was well-founded.

         The Constitution creates two kinds of “Electors.” First, Article I, § 2 provides that House

  Members are selected every two years by “Electors,” and the Seventeenth Amendment expanded

  the power of those “Electors” (hereinafter, “Legislative Electors”) to include selection of

  Senators. States have the power to define Legislative Electors’ qualifications, because

  Legislative Electors may cast votes only if they have the “Qualifications requisite for Electors of


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  the most numerous Branch of the State Legislature.” U.S. Const. art. I, § 2. But once qualified,

  Legislative Electors perform a federal function—selecting Members of the House and Senate—

  which the states have no power to direct or control. See Ray, 343 U.S. at 224 (comparing the

  “federal function” of a presidential elector to “the state elector who votes for congressmen”).

  Thus, no state has ever tried by law to specify how its Legislative Electors must vote in

  Congressional elections. The very idea is anathema to the liberty of voting.

         Second, Article II, § 1 provides that a second set of “Electors” are “appoint[ed]” by the

  State, as the legislature “may direct,” to select the President and Vice President once every four

  years. These are the Presidential Electors. The State has plenary power to select these Electors,

  except that no “Senator or Representative, or Person holding an Office of Trust or Profit under

  the United States” may serve as a Presidential Elector. As with Legislative Electors, Presidential

  Electors exercise a federally-protected power in performing their duties. Burroughs, 290 U.S. at

  545 (presidential electors “exercise a federal function under . . . the Constitution”).

         The plain meaning of the constitutional text is that all “electors” are vested with judgment

  and discretion. The word “elector” implies choice: Samuel Johnson defined the term in 1768 as

  “he that has a vote in the choice of any officer.” Samuel Johnson, A Dictionary of the English

  Language (3d ed. 1768). Further, in Federalist 57, Madison notes Legislative Electors “are to be

  the same who exercise the right in every State of electing the corresponding branch of the

  legislature of the State,” The Federalist No. 57 (J. Madison). Presidential Electors have the same

  right because, as Alexander Hamilton said, Presidential Electors would likely have the

  “information and discernment” necessary to choose the President. The Federalist No. 68 (A.

  Hamilton). Indeed, Hamilton explicitly drew the analogy between Legislative and Presidential




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  Electors when he said that the Electoral College would form an “intermediate body of electors”

  who would be “detached” from “cabal, intrigue, and corruption.” Id.

         Other constitutional text confirms Electors’ must exercise independent judgment. The

  Constitution requires Presidential Electors vote “by ballot,” meaning Presidential Electors must

  vote by secret ballot to further insulate electors from the “cabal and intrigue” that concerned the

  framers. See Speech of Charles Pinckney in the United States Senate, March 5, 1800, reprinted

  in 3 Records of the Federal Convention 1787, at 390 (“The Constitution directs that the Electors

  shall vote by ballot . . . It is expected and required by the Constitution, that the votes shall be

  secret and unknown.”). Secret ballots are inconsistent with the ability to control electors’ votes,

  as illustrated dramatically here, where the Secretary removed Micheal Baca purely on the basis

  of his vote. 3 Compl. ¶ 55.

         In line with this history, the Supreme Court has recognized that Presidential Electors

  were originally vested with judgment. In 1892, the Court stated that “it was supposed [by the

  Framers] that the electors would exercise a reasonable independence and fair judgment in the

  selection of the Chief Executive.” McPherson, 146 U.S. at 36. Justice Jackson later agreed that

  “[n]o one faithful to our history can deny that the plan originally contemplated . . . that electors

  would be free agents, to exercise an independent and nonpartisan judgment.” Ray, 343 U.S. at




  3
    Indeed, when the Secretary refused to permit Plaintiffs to vote by secret ballot and interfered
  with electors’ ability to certify and seal their own votes, he may have violated federal law
  governing electoral procedure. See 3 U.S.C. §§ 8–11 (requiring electoral votes be cast “in the
  manner directed by the Constitution,” and providing “electors shall make and sign six certificates
  of all the votes given by them,” without any interference from the State) (emphasis added).



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  232 (Jackson, J., dissenting). 4 No amendment or court opinion has altered the freedom that the

  Supreme Court has recognized, nor has any Supreme Court opinion. It therefore still exists.

               4.     Constitutional Structure Reinforces Elector Independence.

         The Supreme Court has also made clear that the Constitution prohibits states from adding

  restrictions to electors’ freedom to vote for candidates who meet constitutional qualifications. In

  U.S. Term Limits v. Thornton, 514 U.S. 779 (1995), for instance, the Court rejected Arkansas’s

  attempt to deny ballot access to any representative who had served three terms in the U.S. House

  or two in the Senate. The Court held such restrictions infringed Legislative Electors’ freedom of

  choice because “sovereignty confers on the people the right to choose freely their representatives

  to the National Government.” Id. at 794. Similarly, in Powell v. McCormack, 395 U.S. 486

  (1969), the Court held that Congress had no power to fail to seat an elected representative who

  met all constitutional requirements for congressional service. Id. at 547. Thus, under Powell and

  Thornton, Legislative Electors must be given freedom to vote into office anyone that meets the

  constitutional requirements of age, residency, and citizenship. Thornton, 514 U.S. at 783.

         Presidential Electors have the same freedom of choice as Legislative Electors. The

  Constitution imposes only a few restrictions on Presidential Electors’ choices: for example, at

  least one of an elector’s choices for president and vice-president must not be from the elector’s

  state, U.S. Const. amd. XII, and the elector’s choice for president must be at least 35 years old,

  id. art. II, § 1. But the constitutional limits are the only limits on elector discretion, because to

  permit States to add additional restrictions would undermine “‘the right of the electors to be



  4
     Leading constitutional historian Rob Natelson recently reviewed additional founding-era
  evidence that electors were meant to exercise discretion in blog posts that can be found at
  https://perma.cc/SL3F-EPKR and https://perma.cc/DDW2-MDUV.



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  represented by men of their own choice,” which is “so essential for the preservation of all their

  other rights.’” Powell, 395 U.S. at 534 n.65 (quoting 16 Parl. Hist. Eng. 589–90 (1769)). The

  restriction on voting here—which gave Presidential Electors one and only one choice for

  President, see Compl. ¶¶ 54–55—is thus unconstitutional.

         Indeed, if states could restrict Presidential Electors’ votes beyond express constitutional

  limits, then, as Justice Douglas said in Powell, nothing prevents the passage of laws that would

  nullify votes for a “Communist,” a “Socialist,” or anyone who “spoke[] out in opposition to the

  war in Vietnam.” 395 U.S. at 553 (Douglas, J., concurring). Such politically-charged restrictions

  are not hypothetical: the New York legislature recently introduced a bill that would prevent its

  Presidential Electors from voting for a candidate who did not release copies of his or her five

  most recent years of tax returns. See N.Y. Senate Bill S26, § 3 (2017–18 Legislative Session).

  On the State’s view here, that condition on elector voting is a valid component of the state’s

  appointment power. But the Constitution’s text and structure reveal that this extra-constitutional

  restriction on who Presidential Electors can select is invalid, just like the one at issue here.

                5.    Longstanding Practice Recognizes              The     Existence    Of    A
                      Constitutional Freedom To Choose.

         Finally, the State contends that “longstanding practice” justifies its deviation from the

  text and history of the Constitution. State Br. 12–14. But the State’s argument confuses ethical

  norms with constitutional law. Of course the norm is for electors to vote consistent with the

  expectations of the public and political parties. Yet, as Senator Sam Ervin recognized on the

  floor of the Senate, the “Constitution is very clear on this subject” of the binding of Presidential

  Electors: the government may not “take what was an ethical obligation and convert it into a

  constitutional obligation.” 145 Cong. Rec. 203 (1969). For that very reason, Congress has never

  wavered from its view that Presidential Electors’ votes must be counted even if contrary to the


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  popular vote. Thus, in the most recent election, Congress certified seven such votes, including

  several from states with binding statutes like Colorado’s that attempted to require Presidential

  Electors to vote for a particular ticket, see 163 Cong. Rec. H185–189 (Jan. 6, 2017) (counting

  and certifying election results). Congress has never done otherwise.

         The State also claims that “courts have uniformly recognized the constitutionality of

  binding electors through statute.” State Br. 12. The State is wrong. In fact, the Alabama Supreme

  Court invalidated a binding statute because, when the state “dictate[s] to the electors the choice

  which they must make for president and vice-president, it has invaded the field set apart to the

  electors by the Constitution of the United States.” Op. of Justices, 250 Ala. 399, 401 (1948). The

  Kansas Supreme Court has likewise recognized that “[i]n a legal sense the people of this State

  vote for no candidate for President or Vice President, that duty being delegated to 10 citizens

  who are authorized to use their own judgment as to the proper eligible persons to fill those high

  offices.” Breidenthal v. Edwards, 57 Kan. 332, 339 (1896). 5

         Moreover, cases on which the State relies incorrectly conclude the Constitution can be

  changed or amended based on prior practice. One trial court decision relied on by the State,

  Thomas v. Cohen, 146 Misc. 836 (N.Y. Sup. Ct. 1933), acknowledged that “the exact language

  of the Constitution” vests electors with discretion, but the judge departed from the “apparent

  meaning” of the Constitutional text because, in the court’s view, common practice had “ripened”

  into a “bounden duty” of an elector to vote for a particular candidate. Id. at 839, 841. But

  5
    Recent scholarship on this topic also supports the view that presidential electors may not be
  bound to vote for a particular candidate. See Michael Stokes Paulsen, The Constitutional Power
  of the Electoral College, Public Discourse (Nov. 21, 2016) (“[C]onstitutionally, the electors may
  vote for whomever they please.”); Robert J. Delahunty, Is The Uniform Faithful Presidential
  Electors Act Unconstitutional?, 2016 Cardozo L. Rev. De Novo 129, 153 (“[T]he Constitution
  protects the elector’s discretion against efforts at legal compulsion.”).



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  federal law is now clear that “‘[p]ast practice does not, by itself, create power.’” Medellin v.

  Texas, 552 U.S. 491, 532 (2008) (quoting Dames & Moore v. Regan, 453 U.S. 654, 686 (1981));

  see also Ray, 343 U.S. at 253 (Jackson, J., dissenting) (noting that “custom” is not “sufficient

  authority for amendment of the Constitution by Court decree”). The clear language of the

  Constitution has not been amended. Under it, Plaintiffs’ constitutional rights were violated.

                                                 ***
           This Court earlier expressed concern that Presidential Electors who fail to vote in accord

  with the popular vote of their state “undermine the electoral process and unduly prejudice the

  American people.” Baca v. Hickenlooper, D. Colo. No. 16-2986, Slip Op. at 16 (Dec. 21, 2016).

  Plaintiffs recognize that departing from the popular vote and an elector’s pledge should be an

  extraordinary act. But the greater prejudice to the American people would be to ignore the

  Constitution. The Framers created an intermediate body of electors, imbued with the discretion

  to cast votes for the persons they viewed as best able to serve as President and Vice-President, in

  the hope that this hybrid system would produce excellent results. Until the Constitution is

  amended, the State must permit the system to operate as designed.

                                           CONCLUSION

           The Motion to Dismiss should be denied.

  Dated:      December 22, 2017




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                                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on this 22nd day of December, 2017, a true and
  correct copy of the foregoing PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
  TO DISMISS was filed with the Court via CM/ECF and served upon counsel for Defendant via
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